Appendix ECF No. 37-6, PagelD.1553 Filed 10/07/24 Page 1 of 4

46
CaS@Qdec2: BIG SEO SSS- SRE IRAB-1E CHNO8 G7 -SleP 49641341 SSde 216d 10/07/24

Katrina, your dispute is now open

Experian Alerts <support@s.usa.experian.com>
Fri 5/5/2023 3:56 AM

To:b 9 i com <b i com>

e. .
fexper lan. Membership ID# 10193885663139202 Sign In
e

Katrina, your dispute is open

Account dispute
Your dispute should be completed by Jun 02, 2023.

How likely are you to recommend Experian?
oO 1 2 3 4 5 6 7 8 9 140

Take survey >

Why am I receiving this email?
This Is not a marketing email—you're receiving this message to notify you of a recent change to your
account. If you've unsubscribed from Experian CreditWorks™ Basic emails in the past, don't worry—
you no longer receive newsletters or special offers.

You can update some alerts and communications preferences any time on your Experian
CreditWorks™ Basic profile, but you'll continue to receive notifications like this one on the status of
your account.

To ensure that you'll stay up fo date on account notifications, add support@e.usa.experian.com to
your address book and avoid marking these messages as spam.

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Page 2 of 4

47
Cat ags-2i-4 B38H/SEPASS SRE A S1-1E Chg dis Bi leP eyed 154¢e 2biled 10/07/2

Your Equifax credit report dispute is in progress.

no-reply@email.equifax.com <no-reply@email.equifax.com>
Thu 5/4/2023 9:41 PM

com com>

{%%view_email_url%%]View in browser

my Equifax”

We’re investigating your Equifax
credit report dispute.

Submitted Under Completed
05/05/2023 investigation (estimate)
06/04/2023

Dear Katrina,

We're investigating your Equifax credit report dispute:

+ During the investigation, we'll review the information you provided
and, if needed,contact the source of your credit information to
verify its accuracy.

« We'll notify you within about 30 days when the results are
available.

+ Depending on the results, you may see updates in your Equifax
credit report.

You can view the status of your dispute in your Dispute Center at any
time.

Dispute confirmation number

3124626699 |

4 Page 3 of4

48
Cag ass-Qy2288Y-SIZOBE SRC-BA S16 CH N2 887 -GleP egieae4 1 Bag 2Piléd 10/07/44 Page 4 of 4

Katrina: TransUnion received your dispute

Credit Karma <notifications@creditkarma.com>
Fri 5/5/2023 3:18 PM
To:bergunki@msn.com <bergunki@msn.com>

Katrina,
here's your Direct

Dispute” update.

Submitted to TransUnion In Review Completed

Your recent dispute was submitted to TransUnion on 05/05/2023 and is
expected to be resolved within 30 days of that date.

We'll let you know when we have more information. In the meantime, feel
free to check the dispute status in your Credit Karma account.

Check the status

Did you find this email helpful?

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49
